1                                                                    Honorable Christopher M. Alston
                                                             Hearing date: October 29, 2021; 9:30 a.m.
2                                                                 Hearing Place: Telephonic Hearing
                                                                  Responses due by: October 22, 2021
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7
                      IN THE UNITED STATES BANKRUPTCY COURT FOR THE
8                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE

9    In re:                                           )   Chapter 7
                                                      )   Bankruptcy No. 18-12299
10   JASON L. WOEHLER,                                )
                                                      )   APPLICATION BY ATTORNEY FOR
11                   Debtor(s).                       )   TRUSTEE FOR COMPENSATION
                                                      )   AND SUPPORTING DECLARATION
12
                                             APPLICATION
13
              COMES NOW The Livesey Law Firm, and applies to this Court for compensation as the
14
     attorney for the Chapter 7 trustee in the amount of $40,784.00 for fees and $86.20 for costs for a
15
     total of $40,870.20, for the period of November 1, 2018, through the date of this application. This
16
     application is based on the subjoined declaration of Rory C. Livesey.
17
              WHEREFORE your applicant prays that an allowance be made to it as compensation for
18
     professional services rendered and costs as listed above.
19
              DATED this 10th day of August, 2021.
20
                                                  THE LIVESEY LAW FIRM
21

22                                                        /S/ Rory C. Livesey

23                                                Rory C. Livesey, WSBA #17601
                                                  Of Attorneys for Nancy L. James, Trustee
24
                                             DECLARATION
25
              The undersigned makes the following statement under penalty of perjury:


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     TRUSTEE FOR COMPENSATION                                              THE LIVESEY LAW FIRM
                                                                           2033 Sixth Avenue, Suite 900
     AND SUPPORTING DECLARATION                                            Seattle, WA 98121
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1           1.      I am over 18 years of age, am competent to testify to the statements herein and make

2    the statements herein based on facts personally known to me.

3           2.      The Livesey Law Firm is acting as the attorney for the trustee, Nancy L. James, in

4    the above-captioned matter and makes this application for an allowance of compensation for

5    professional services rendered and for reimbursement of actual and necessary costs and expenses

6    incurred herein by it in the administration of this estate.

7           3.      On December 6, 2018, this applicant was employed under a general retainer to

8    represent the trustee in this proceeding, pursuant to an order entered herein.

9           4.      All services for which compensation is requested by your applicant were performed

10   for and on behalf of said trustee, and not on behalf of any committee, creditor or other person.

11                                           I. INTRODUCTION

12          5.      The debtor was a local attorney specializing in collection matters. Although

13   uncertain if it had anything to do with the bankruptcy, the debtor resigned in lieu of discipline from

14   the Washington State Bar Association while the case was pending.

15          6.      Prior to the bankruptcy, the debtor was a defendant in litigation that, generally,

16   involved a collection matter wherein it is alleged that the debtor continued collection activities on

17   an account where the account debtor, Russell Brandt (“Brandt”), had previously paid the obligation.

18   Apparently the employee of the collection agency pocketed the money. Brandt filed a lawsuit

19   against the debtor and his collection agency client. The collection agency settled. The debtor went

20   to trial and Brandt received a judgment against the debtor for an amount in excess of $180,000.

21   Brandt then filed an adversary proceeding to deny the debtor his discharge.

22                              II. GENERAL ADMINISTRATION (“GA”)

23          7.      The trustee contacted your applicant regarding its employment as her attorney in this

24   matter. I reviewed the debtor’s schedules for potential conflicts. Finding no conflict I executed a

25   declaration of no adverse interest. The order authorizing the trustee to employ an attorney was

     entered with the Court.

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1           8.      It was difficult to deal with the debtor. In part, it was likely due to traveling a great

2    deal to cover court cases around the state on behalf of his collection agency clients. However, the

3    debtor also kept poor records. The case was originally filed as a Chapter 13. The debtor’s accounts

4    were audited and it was discovered that he had income that he failed to disclose to the Court. The

5    case converted to a Chapter 7 shortly thereafter.

6           9.      There were two potential assets in this estate. The first was the debtor’s residence,

7    which had significant equity. The second asset was an indemnity claim he had against the collection

8    agency in the Brandt matter. When dealing with the bankruptcy of a professional, such as an

9    attorney, the accounts receivable become an issue. In this case, it is complicated further by the case

10   originally being filed as a Chapter 13. Based on available information, the trustee concluded it

11   would not be cost effective to pursue the limited receivables. The debtor also listed some artwork

12   on his schedules, about which the debtor conveniently had little knowledge. The trustee’s research

13   produced little information on the artist.

14          10.     Initially, the Court issued a show cause order for why the case should not be

15   dismissed for the debtor’s failure to file post-conversion schedules. Your applicant filed a response

16   on behalf of the trustee. Brandt also filed a response. He did file amended schedules.

17          11.     The United States Trustee (“UST”) noted up a 2004 examination of the debtor. Your

18   applicant sat in on the examination on behalf of the trustee. The debtor was very vague in his

19   responses. He seemed to have little understanding of his own affairs. It did come out that the debtor

20   made a couple of post-petition payments to creditors that were not authorized by the Bankruptcy

21   Code or order of the Court. One of the payments was for $12,500. That payment was just on the

22   cusp of being worth pursuing. The other payment was too small to economically pursue. Getting

23   information from the debtor on the payee was difficult. Ultimately your applicant prepared his own

24   motion for a 2004 examination of the debtor. This happened just as the Coronavirus (COVID-19)

25   pandemic began. At that time there could be no face to face examination of the debtor. Your

     applicant prepared interrogatories for the debtor’s signature. They were served on the debtor’s

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1    attorney. Ultimately the debtor did respond. He claimed he knew very little about the person to

2    whom he had paid $12,500. The debtor only had his work address. The debtor’s explanation was

3    that he dealt with the individual primarily through email. Your applicant was able to get a little

4    more information about the individual through an online search. Brandt’s attorney also had some

5    information. Although the situation was suspect, under the circumstances, including the additional

6    costs that would be required to litigate during the pandemic, the trustee concluded that the payment

7    was not worth pursuing.

8           12.     The debtor was doing collections for Sacor Financial, Inc. (“Sacor”). The debtor’s

9    employment contract with Sacor had an indemnity provision. The trustee determined that it was in

10   the best interest of the estate to employ litigation counsel to pursue any potential claim against

11   Sacor. Special counsel requested that the motion to approve his employment be done on notice to

12   creditors to reduce the possibility of future objections to his fees. Your applicant, working with the

13   attorney, prepared a notice and motion for an order authorizing the employment. Notice of the

14   proposed employment was sent to creditors. There were no responses and the order authorizing the

15   employment was entered with the Court.

16          13.     Your applicant met with special counsel, the debtor and debtor’s counsel to discuss

17   the Sacor claim. Compared to his testimony at the UST’s 2004 examination, the debtor was a wealth

18   of information regarding this claim. He brought documents and had a very good grasp of the facts.

19   The assumption was the debtor would be much more cooperative when he had something to gain,

20   such as the possibility that Sacor would pay the creditor claims under the indemnity agreement.

21   Under the terms of the debtor’s employment agreement, the estate had a claim against Sacor in an

22   amount equal to the Brandt judgment. Special counsel began pursuit of the claim. Ultimately, the

23   claim was settled for $20,000. There were a variety of reasons why the settlement was in the best

24   interest of the estate. Initially, Sacor believed it had a counter claim against the debtor and,

25   consequently, the estate, for the debtor’s failure to renew several hundred thousand dollars in

     judgments at the end of their original ten year life span. Although not a driving factor, it did raise

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1    a hurdle to collecting an amount equal to the Brandt judgment. More importantly, Sacor was formed

2    for the specific purpose of acquiring the Columbia Credit Services/National Credit debt portfolio.

3    At the time of the claim, Sacor was winding down its collection operations. Additionally, due to the

4    Coronavirus (COVID-19) pandemic, Sacor had all but ceased its collection activities.

5           14.     At the trustee’s direction your applicant prepared and filed a motion for an order

6    authorizing the settlement. Notice of the proposed settlement was sent to creditors. There were no

7    responses and the order authorizing the settlement was entered with the Court.

8           15.     The debtor’s discharge was something of a complicated process. Initially, the UST

9    got the debtor to agree to extend the deadline for filing complaints. The extension only applied to

10   the UST and to the trustee. As the investigation evolved, it was determined another extension was

11   needed.   Your applicant communicated with debtor’s counsel and a second extension was

12   negotiated. Ultimately, neither the trustee nor the UST opposed the discharge.

13          16.     Brandt filed a complaint to deny the debtor’s discharge. He alleged causes of action

14   under Section 523 and Section 727 of the Bankruptcy Code. Brandt’s attorney was very active

15   throughout the administration of this case. The debtor’s defense to Brandt’s action were intertwined

16   with the trustee’s claim against Sacor.    Initially, Brandt’s attorney wanted a copy of the debtor’s

17   contract with Sacor. The contract was not with the debtor, but with his prior law firm, Wales &

18   Woehler. Wales had not been involved in the firm for some time. The debtor just never got around

19   to changing the name. Moreover, the Sacor contract had a confidentiality provision. I worked with

20   special counsel to address the issue. What would otherwise be a fairly simple task became rather

21   complicated. Initially, I contacted Sacor and informed it of the request for a copy of the contract.

22   I never received a response. Out of an abundance of caution, I suggested to Brandt’s attorney that

23   he issue a subpoena to the trustee for the turnover of the contract. The subpoena was issued and the

24   contract was provided.

25          17.     An element of Brandt’s discharge action involved the debtor’s post-petition activities.

     At one point Brandt was making overtures towards calling both the trustee and your applicant as

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1    witnesses in his discharge action to testify to the debtor’s behavior. However, as of this writing the

2    discharge trial has taken place and Brandt was unsuccessful. The debtor received a discharge.

3    Neither the trustee nor your application were called as witnesses.

4           18.       The trustee has done the bulk of the claims review. However, one of the claims that

5    was filed against the estate was unliquidated. Apparently the creditor was suing both the debtor and

6    a collection agency, other than Sacor, in federal district court. Obviously the debtor’s filing stayed

7    the action as to him, but the creditor was still pursuing the claim against the collection agency. In

8    exchanging correspondence with the attorney for the creditor, it was found that the district court had

9    dismissed the lawsuit and the matter was on appeal. Although the primary target for the plaintiff

10   was the collection agency’s insurance company, they had still filed a claim against the bankruptcy.

11   Your applicant researched the allowance of unliquidated claims. However, communication with the

12   creditor became difficult. In order to bring the matter to a head the trustee objected to the claim.

13   Somewhat surprisingly, the creditor did not respond and the claim has been denied.

14          19.       The proceeds of the Sacor settlement were taxable. Even with the available

15   deductions there was a small administrative tax owed. At the trustee’s direction your applicant

16   prepared a notice, motion and order authorizing the trustee to pay the tax. The order was entered.

17   The tax returns have been filed with the Internal Revenue Service, along with a request for a prompt

18   determination.

19          20.       Your applicant has spent 80.50 hours on the General Administration in this case, or

20   $28,508.50.

21                                         III. RESIDENCE (“R”)

22          21.       The debtor had a residence that appeared to have equity in it over and above the

23   combined secured debt and homestead exemption. The trustee employed an agent to list and market

24   the property. The debtor had expressed an interest in purchasing the estate’s equity in the property

25   from the very beginning. The realtor was employed in the alternative as a real estate consultant so

     that he could be reimbursed for his time and expenses should the debtor purchase the estate’s interest

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1    in the property. However, it was again difficult to get information from the debtor. Generally, the

2    debtor simply just did not respond.

3           22.     At the trustee’s direction your applicant prepared a motion for an order directing the

4    debtor to leave the property and turn it over to the trustee. Notice of the proposed motion was sent

5    to the debtor. There was a response to which your applicant prepared and filed a reply. The debtor

6    then became much more responsive and the motion for turnover did not go forward. Based on the

7    trustee’s evaluation, there was approximately $112,425 in equity in the property. That was

8    calculated after factoring in secured debt, the debtor’s homestead exemption and costs of sale. The

9    price was based on an offer the trustee’s agent had obtained for the property. The sale back to the

10   debtor provided slightly more of a benefit to the estate.

11          23.     Your applicant drafted a notice and motion for an order authorizing the sale of the

12   equity in the property back to the debtor. Additionally, the debtor was borrowing the money to buy

13   the equity. I prepared a declaration for his lender’s signature confirming it was his, and not the

14   debtor’s, money. Notice of the proposed sale was sent to creditors. The order approving the sale

15   was entered with the Court and the debtor paid the money. Pursuant to the trustee’s agreement with

16   the debtor, your applicant prepared and filed a notice abandoning the debtor’s residence.

17          24.     Your applicant has spent 32.7 hours on the Residence in this case, or $12,275.50.

18          25.     In closing this case I have prepared this fee application and I will assist the trustee

19   in those matters routine to the closing of any bankruptcy estate.

20          26.     I have received no payments and no promises for payments from any source, other

21   than as set forth in the paragraph below, for services rendered or to be rendered in any capacity

22   whatsoever in connection with this case, and there is no agreement or understanding between me

23   and any other person other than members of my firm for sharing of the compensation to be received

24   for services rendered in this case.

25          27.     No previous allowance has been made to the attorney in this matter.



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1           28.     My standard rate of compensation for the relevant time period is set forth below.

2    That from the time of being appointed by the trustee until the date of this application I have spent

3    the following time on this matter:

4                                             STANDARD
            DATE                              HOURLY RATE         HOURS          AMOUNT
5
                                     RORY C. LIVESEY - ATTORNEY
6
     January 1, 2018 through
7    December 31, 2018                        $375.00             13.40          $        5,025.00

8    January 1, 2018 through
     December 31, 2018                        $375.00              0.60 - N/B    $             0.00
9
     January 1, 2019 through
10   December 31, 2019                        $385.00             54.60          $       21,021.00

11   January 1, 2019 through
     December 31, 2019                        $385.00              1.20 - N/B    $             0.00
12
     January 1, 2020 through
13   December 31, 2020                        $385.00             33.00          $       12,705.00

14   January 1, 2020 through
     December 31, 2020                        $385.00              1.20 - N/B    $             0.00
15
     January 1, 2021 through
16   date of this application              $385.00                 5.20          $        2,002.00

17   January 1, 2021 through
     date of this application              $385.00                 3.80 - N/B    $             0.00
18
     Subtotal for attorney:                                                      $       40,753.00
19
                              PATRICIA K. JOHNSON - LEGAL ASSISTANT
20
     January 1, 2019 through
21   December 31, 2019                        $155.00              0.20          $           31.00

22   Subtotal for legal assistant:                                               $           31.00

23   TOTAL:                                                                      $       40,784.00

24   That $40,784.00 is a reasonable fee in this matter. The billing statements are attached hereto and

25   incorporated herein by this reference.



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1           29.     My firm has incurred several costs in the course of representing the trustee as

2    follows:

3           ITEM                                          AMOUNT

4           a.      Copies                                $           4.50

5           b.      Special Postage                       $           1.55

6           c.      Pacer Charges                         $          37.60

7           d.      Costs to Mail Final Notice            $          42.55

8                   TOTAL:                                $          86.20

9           30.     The amount of unencumbered funds in the estate is approximately $137,000.

10          31.     The type and amount of other claims with a priority equal to or higher than those of

11   the applicant are as follows: Nancy L. James, the trustee, Manish Borde, special counsel for the

12   trustee, and Richard N. Ginnis, the trustee’s accountant.

13          DATED this 10th day of August, 2021.

14

15
                                                          /S/ Rory C. Livesey
16
                                                  Rory C. Livesey
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